Case: 4:15-cr-00404-HEA-NAB Doc. #: 101 Filed: 01/14/16 Page: 1 of 4 PageID #: 268




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                 Plaintiff,                       )
                                                  )
          v.                                      )     No. S1-4:15CR00404 HEA(NAB)
                                                  )
 JOSE ALFREDO VELAZQUEZ, et. al.,                 )
                                                  )
                         Defendants.              )

        GOVERNMENT'S MOTION FOR COMPLEX CASE FINDING AND
  TO CONTINUE TRIAL DATE BEYOND LIMITS SET BY THE SPEEDY TRIAL ACT

         Comes now the United States of America by and through its attorneys, Richard G.

 Callahan, United States Attorney for the Eastern District of Missouri and Thomas Rea and Michael

 A. Reilly, Assistant United States Attorneys for said District, and requests the Court, pursuant to

 Title 18, United States Code, Sections 3161(h)(7)(A) and (B)(i) and (ii), to make findings that: (1)

 the case is so unusual or so complex that it is unreasonable to expect adequate preparation for

 pretrial proceedings or for the trial itself within the time limits established by the Speedy Trial Act,

 and (2) that the failure to grant a continuance to determine whether and what pretrial motions

 should be filed in the proceeding would result in a miscarriage of justice.

         The government, in support of its motion, states as follows:

         1.      This case involves a long-term continuing criminal enterprise, drug distribution

 conspiracies, several drug related homicides, and firearms violations, in which eighteen

 defendants are charged in twenty counts.

        2.      Four of the defendants are charged with death eligible offenses.

        3.      The government estimates that the trial in this case would last multiple weeks

 depending upon the number of defendants electing to proceed to trial. A more accurate estimate
Case: 4:15-cr-00404-HEA-NAB Doc. #: 101 Filed: 01/14/16 Page: 2 of 4 PageID #: 269




 can be made when the number of defendants electing to go to trial has been determined.

           4.   There are multiple factors contributing to the complexity of this case:

                A. The discovery in this case is voluminous and includes numerous separate Title

 III applications, affidavits, and orders that resulted in thousands of contacts by either electronic or

 wire communications for several target telephones.

                B. There were a large number of search warrants executed during this long term

 investigation which resulted in the seizure of physical evidence or data from phones seized during

 the investigation. Much of this evidence relates to a high volume of electronic data obtained from

 searches of cellular phones or electronic devices. Moreover, investigators have recently executed

 at least eight additional search warrants of real property, in which additional evidence has been

 seized.

                C. There were multiple applications for Precision Location Warrants or other

 process and orders related to the investigation.

                D. There are multiple arguably suppressible events that occurred

 during the course of this extended investigation, which lasted approximately two years. Defense

 counsel will need time to consider the potential issues.

                E. There is the potential of Rule 404(b) evidence pertaining to several defendants.

                F.   Several of the charged offenses are death eligible.          The Government is

 currently processing materials related to a determination from the Attorney General for permission

 to seek or not seek the death penalty.

       5.       The government has been working on the investigation for some time and would be

 prepared to try this case within the time limits set forth under the Speedy Trial Act. However, the

 government recognizes that in light of the number of defendants, the nature of the conspiracy
Case: 4:15-cr-00404-HEA-NAB Doc. #: 101 Filed: 01/14/16 Page: 3 of 4 PageID #: 270




 charges, and the sheer volume of discovery, it is unreasonable to expect the defense to have

 adequate preparation for pretrial proceedings or for the trial itself within the time limits established

 by the Speedy Trial Act.

         6.         Additional time would likely assist defendants and defense counsel in fully

 reviewing discovery, deciding whether to file pretrial motions, and preparing for trial and/or

 completing plea negotiations with the government.

         7.      Pursuant to Title 18, United States Code, Sections 3161(h)(7)(A) and (B)(i) and (ii)

 and for all the foregoing reasons, the United States requests this Court to make specific findings

 that the trial of this matter should be continued past the limits set by the Speedy Trial Act because

 the ends of justice served by continuing this case outweigh the best interest of the public and the

 defendants in a speedy trial, and the case is so unusual and so complex that it is unreasonable to

 expect adequate preparation for pretrial proceedings and the failure to exclude this period would

 likely result in a miscarriage of justice.




                                                    3
Case: 4:15-cr-00404-HEA-NAB Doc. #: 101 Filed: 01/14/16 Page: 4 of 4 PageID #: 271




        WHEREFORE, the Government requests that the Court make such findings, set a motion

 deadline and an evidentiary hearing consistent with the complexity of the case, and order the time

 elapsed between any motion waivers and trial setting excluded from Speedy Trial Act calculation.

 18 U.S.C. '3161(h)(7)(A), (B)(i), and (B)(ii).

                                               Respectfully submitted,

                                               RICHARD G. CALLAHAN
                                               United States Attorney

                                               s/ Michael A. Reilly
                                               THOMAS REA, #53245mo
                                               MICHAEL A. REILLY, #43908MO
                                               Assistant United States Attorney
                                               111 South 10th Street, 20th Floor
                                               St. Louis, MO 63102
                                               (314) 539-2200



                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 14, 2016, the foregoing was filed electronically with the
 Clerk of the Court to be served by operation of the Court=s electronic filing system upon all counsel
 of record.

                                                       s/Michael A. Reilly
                                                       Michael A. Reilly, 43908MO
                                                       Assistant United States Attorney




                                                  4
